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                 EXHIBIT 3
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                      IN THE UNITED STATES COURT OF APPEALS

                               FOR THE ELEVENTH CIRCUIT
                                 ________________________

                                      No. 22-11150-GG
                                  ________________________

IRA KLEIMAN,
as the Personal Representative of the
Estate of David Kleiman,

                                                                               Plaintiff-Appellant,

W&K INFO DEFENSE RESEARCH, LLC,

                                                                                         Plaintiff,

                                              versus

CRAIG WRIGHT,

                                                                             Defendant-Appellee.
                                  ________________________

                          Appeal from the United States District Court
                              for the Southern District of Florida
                                 ________________________

Before: JORDAN, JILL PRYOR, and GRANT, Circuit Judges.

BY THE COURT:

       Appellee Craig Wright has filed a “Motion to Disqualify Roche Freedman LLP,” in which

he alleges that attorney Kyle Roche has a disqualifying conflict of interest that is imputed to his

law firm under Rule 1.10 of the American Bar Association’s Model Rules of Professional Conduct

and the corresponding New York rule.        Although the motion is not entirely clear, Wright

apparently also seeks to have Roche disqualified individually based on alleged “conduct involving

dishonesty, fraud, deceit, or misrepresentation” and “conduct that is prejudicial to the

administration of justice,” in violation of Rule 8.4 of the New York Rules of Professional Conduct.
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        The motion is DENIED IN PART to the extent that it seeks disqualification of Kyle Roche

individually. Roche is not a member of this Court’s bar, has not applied to appear pro hac vice in

this Court, and has not filed a notice of appearance in this appeal. Under the Federal Rules of

Appellate Procedure and this Court’s Rules, therefore, Roche is not permitted to practice before

the Court or to participate in the appeal. See Fed. R. App. P. 46; 11th Cir. R. 46-1, 46-4, 46-5;

see also 11th Cir. R. 46-9 and Addendum Eight (Rules governing the conduct and discipline of

attorneys admitted to practice before this Court). The appellee may renew its motion if Roche is

admitted to practice before this Court or given leave to participate in the appeal.

        The motion to disqualify Roche Freedman LLP based on Roche’s alleged conflict of

interest is HELD IN ABEYANCE. Attorney Devin (Velvel) Freedman is instructed to file, within

14 days after the entry of this order, a signed and verified declaration on behalf of himself and

Roche Freedman LLP informing the Court:

        Whether any person or entity other than those listed in the appellant’s Certificate of

Interested Persons, including any partner in Roche Freedman LLP, has an interest in the outcome

of this appeal;

        Whether Appellant Ira Kleiman, as personal representative of the Estate of David Kleiman,

has been informed of the alleged conflict of interest discussed in the appellee’s motion; and if so,

        Whether the requirements of Rule 1.7(b) of the ABA Model Rules of Professional Conduct

are satisfied.
